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UNITED STATES DISTRICT COURT
FOR THE DlSTRICT OF COLUMBIA

M.G.U, et al.

Plaintiffs, No. 1:18-0‘/-01458 (PLF)

V.

KIRSTJEN NIELSEN, et al.,

Defendants.

PR SED ()RDER
UPON CONSIDE,RATION of Defendants’ UNOPPOSED MOTION FOR
EXTENSION OF TIME FOR DEFENDANTS TO FILE THEIR REPLY IN SUPPORT
OF THEIR MOTION TO D!SMISS, and for good cause shown, it is hereby
ORDERED that Def`endants’ motion be, and hereby is, GRANTED, Defendants’

deadline to file their reply brief in support of their Motion to Dismiss is extended to January 4,

20]9.

SO ORDERED.

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Date PAUL L. FRIEDMAN ~
United States District Judge

